        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 1 of 40 Page ID #:1019



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                 16    [Counsel for moving Defendants listed
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                 18                         UNITED STATES DISTRICT COURT
                 19                       CENTRAL DISTRICT OF CALIFORNIA
                 20                                WESTERN DIVISION
                 21
                 22    IN RE ETHEREUMMAX                        Lead Case No. CV 22-163 MWF (SKx)
                       INVESTOR LITIGATION
                 23                                             DEFENDANTS’ NOTICE OF MOTION AND
                       ______________________________           OMNIBUS MOTION TO DISMISS THE
                 24                                             SECOND AMENDED CLASS ACTION
                       This Document Relates to:                COMPLAINT’S STATE CONSUMER LAW
                 25                                             AND COMMON LAW CLAIMS;
                          ALL ACTIONS.                          MEMORANDUM OF POINTS AND
                 26                                             AUTHORITIES
                 27
                                                                Judge:    Hon. Michael W. Fitzgerald
                 28                                             Date:     May 15, 2023
COOLEY LLP
ATTORNEYS AT LAW                                                           DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                             LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 2 of 40 Page ID #:1020



                   1                                 Time:     10:00 a.m.
                   2                                 Place:    First Street Courthouse,
                                                               Courtroom 5A
                   3
                   4                                 Complaint Filed:       January 7, 2022
                                                     Trial Date:            Not Scheduled
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COOLEY LLP
ATTORNEYS AT LAW                                                DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                CONSUMER LAW AND COMMON LAW CLAIMS
                                                                  LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 3 of 40 Page ID #:1021



                   1                        NOTICE OF MOTION AND MOTION
                   2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   3         PLEASE TAKE NOTICE that on May 15, 2023, at 10:00 a.m., or as soon
                   4   thereafter as the matter may be heard, in the courtroom of Honorable Michael W.
                   5   Fitzgerald, United States District Judge, Central District of California, located at 350
                   6   West First Street, Los Angeles, California 90012, the undersigned Defendants
                   7   EMAX Holdings, LLC, Kimberly Kardashian, Floyd Mayweather, Jr., Giovanni
                   8   Perone, Paul Pierce, and Jona Rechnitz (the moving “Defendants”), will, and hereby
                   9   do, move the Court for an order dismissing certain claims in Plaintiffs’ Second
                 10    Amended Class Action Complaint (ECF No. 102) (the “SAC”).
                 11          This Motion is made pursuant to Federal Rules of Civil Procedure 9(b),
                 12    12(b)(1), and 12(b)(6), and is based on this Notice of Motion and Motion, the
                 13    accompanying Memorandum of Points and Authorities, the pleadings and evidence
                 14    on file in this matter, oral argument of counsel, and such other materials and argument
                 15    as may be presented in connection with the hearing of the Motion.
                 16          Pursuant to Civil Local Rule 7-3, on February 13, 2023, counsel for the parties
                 17    met and conferred regarding this Motion.
                 18                        STATEMENT OF RELIEF REQUESTED
                 19          Defendants request that the Court dismiss with prejudice Causes of Action
                 20    Nos. 1, 2, 3, 4, 5, 6, 7, 9, and 13—the “State Consumer Law” and California common
                 21    law claims in the SAC—pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(1),
                 22    and 12(b)(6).
                 23                                 ISSUES TO BE DECIDED
                 24          Whether the State Consumer Law and California common law causes of action
                 25    should be dismissed under Federal Rules of Civil Procedure 9(b), 12(b)(1), and
                 26    12(b)(6) due to Plaintiffs’ failure to plead fraud, failure to plead standing for
                 27    injunctive relief, and failure to state any claim upon which relief may be granted.
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                    i        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 4 of 40 Page ID #:1022



                   1                                           TABLE OF CONTENTS
                   2                                                                                                                  Page
                   3   MEMORANDUM OF POINTS AND AUTHORITIES............................................ 1
                       I.   INTRODUCTION ............................................................................................ 1
                   4
                       II.  RELEVANT BACKGROUND........................................................................ 2
                   5        A.  The Court Dismisses Plaintiffs’ Prior Complaint and Identifies
                                Fundamental Flaws in the Complaint’s Theory of Liability. ................ 2
                   6
                            B.  Plaintiffs’ Repackaged Complaint Concerning Alleged Investment
                   7            Losses. .................................................................................................... 3
                                1.     Plaintiffs Drop RICO Claims and Add State Securities
                   8                   Claims. ......................................................................................... 4
                   9            2.     The SAC Adds a Named Plaintiff, Two Defendants, and a
                                       “Confidential Witness.” ............................................................... 4
                 10             3.     The SAC Adds Irrelevant and Boilerplate Allegations. .............. 4
                 11         C.  The State Consumer Law and California Common Law Claims. ......... 5
                       III. LEGAL STANDARDS .................................................................................... 5
                 12    IV. ARGUMENT ................................................................................................... 6
                 13         A.  Plaintiffs’ Claims Are Barred Because the State Consumer Laws
                                Do Not Apply to Alleged Securities Transactions. ............................... 6
                 14         B.  Plaintiffs Have Not Alleged that Defendants’ Conduct Caused
                                Cognizable Injury Under Any of the State Consumer Laws. ................ 7
                 15
                                1.     Plaintiffs Cannot Plausibly Allege Injury from Purchasing
                 16                    Tokens at Allegedly Artificially Inflated Prices.......................... 8
                                2.     Plaintiffs Cannot Allege Injury from Holding onto Tokens. ...... 9
                 17
                                3.     Plaintiffs Cannot Plausibly Allege that Defendants Caused
                 18                    Alleged Diminutions in the Token’s Value. .............................. 10
                            C.  The Alleged Misrepresentations and Omissions Are Not
                 19             Actionable. ........................................................................................... 12
                 20             1.     The Alleged Misrepresentations Would Not Plausibly
                                       Mislead Reasonable Consumers. ............................................... 13
                 21             2.     The Alleged Omissions Are Not Actionable. ............................ 15
                 22         D.  Plaintiffs Fail to State a Claim Under Any UCL Prong. ..................... 19
                                1.     Plaintiffs Fail to State an Unlawful Prong Claim. ..................... 19
                 23             2.     Plaintiffs Fail to State an Unfair Prong Claim. ......................... 19
                 24         E.  Plaintiffs Again Fail to State an Aiding and Abetting Claim. ............. 21
                            F.  Plaintiffs’ Repeated Failure to Allege Inadequate Legal Remedies
                 25             Requires Dismissal of All Equitable Relief with Prejudice. ............... 22
                 26         G.  Plaintiffs Fail to Plead Any Entitlement to Restitution. ...................... 23
                            H.  Plaintiffs Fail to Plead Any Entitlement to Injunctive Relief. ............. 24
                 27
                            I.  Dismissal Should Be with Prejudice. ................................................... 25
                 28    V.   CONCLUSION .............................................................................................. 25
COOLEY LLP
ATTORNEYS AT LAW                                                                                DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                                   ii           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                  LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 5 of 40 Page ID #:1023



                   1                                        TABLE OF AUTHORITIES
                   2                                                                                                             Page(s)
                   3   Cases
                   4   In re Actimmune Mktg. Litig.,
                   5       No. C 08-02376 MHP, 2010 WL 3463491 (N.D. Cal. Sept. 1, 2010) ............... 11
                   6   Apodaca v. Whirlpool Corp.,
                   7     No. SACV 13-00725 JVS, 2013 WL 6477821
                         (C.D. Cal. Nov. 8, 2013) .................................................................................... 15
                   8
                       Arena Rest. & Lounge LLC v. S. Glazer’s Wine & Spirits, LLC,
                   9
                          No. 17-CV-03805-LHK, 2018 WL 1805516
                 10       (N.D. Cal. Apr. 16, 2018) ................................................................................... 19
                 11    Batista v. Irwin Nats.,
                 12       No. CV 20-10737-DMG (EX), 2021 WL 6618543
                          (C.D. Cal. Sept. 27, 2021) .................................................................................... 6
                 13
                       Blank v. TriPoint Global Equities, LLC,
                 14
                          338 F. Supp. 3d 194 (S.D.N.Y. 2019) .................................................................. 6
                 15
                       Bowen v. Ziasun Techs., Inc.,
                 16      116 Cal. App. 4th 777 (2004) ............................................................................... 6
                 17
                       Camacho v. Auto. Club of S. California,
                 18      142 Cal. App. 4th 1394 (2006) ........................................................................... 20
                 19    Campion v. Old Republic Home Prot. Co.,
                 20      861 F. Supp. 2d 1139 (S.D. Cal. 2012) .............................................................. 24
                 21    Carvalho v. Equifax Info. Servs., LLC,
                 22      629 F.3d 876 (9th Cir. 2010) .............................................................................. 25

                 23    Casey v. Fla. Coastal Sch. of L., Inc.,
                         No. 3:14-CV-1229-J-39PDB, 2015 WL 10096084
                 24      (M.D. Fla. Aug. 11, 2015) .................................................................................. 12
                 25
                       Casey v. U.S. Bank Nat’l Ass’n,
                 26      127 Cal. App. 4th 1138 (2005) ........................................................................... 22
                 27
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                                  iii         CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 6 of 40 Page ID #:1024



                   1                                        TABLE OF AUTHORITIES
                                                                  (continued)
                   2                                                                                                               Page(s)
                   3   Castillo v. Seagate Tech., LLC,
                   4     No. 16-CV-01958-RS, 2016 WL 9280242
                         (N.D. Cal. Sept. 14, 2016) .................................................................................. 25
                   5
                       In re Caterpillar,
                   6
                           2015 WL 4591236 .......................................................................................... 9, 11
                   7
                       In re Caterpillar, Inc., C13 & C15 Engine Prod. Liab. Litig.,
                   8       No. 1:14-CV-3722 ................................................................................................ 9
                   9
                       Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
                 10       20 Cal. 4th 163 (1999) ........................................................................................ 19
                 11    Chapman v. Pier 1 Imports (U.S.) Inc.,
                 12      631 F.3d 939 (9th Cir. 2011) .............................................................................. 24

                 13    City First Mortg. Corp. v. Barton,
                          988 So. 2d 82 (Fla. 4th DCA 2008) ..................................................................... 7
                 14
                 15    Clegg v. Cult Awareness Network,
                          18 F.3d 752 (9th Cir. 1994) ................................................................................ 21
                 16
                       Clemens v. DaimlerChrysler Corp.,
                 17
                          534 F.3d 1017 (9th Cir. 2008) ............................................................................ 12
                 18
                       Colgan v. Leatherman Tool Grp., Inc.,
                 19      135 Cal. App. 4th 663 (2006) ............................................................................. 23
                 20
                       Crowell v. Morgan, Stanley, Dean Witter Servs. Co.,
                 21      87 F. Supp. 2d 1287 (S.D. Fla. 2000)................................................................... 6
                 22    Daugherty v. Am. Honda Motor Co.,
                 23      144 Cal. App. 4th 824 (2006) ............................................................................. 18
                 24    Diversified Mgmt. Solutions, Inc. v. Control Sys. Rsch., Inc.,
                 25       No. 15-81062-CIV, 2016 WL 4256916 (S.D. Fla. May 16, 2016) .................... 10

                 26    Downey Surgical Clinic, Inc. v. Ingenix, Inc.,
                         No. CV 09-5457 PSG (CTX), 2013 WL 12114070
                 27      (C.D. Cal. Dec. 11, 2013) ............................................................................. 15, 16
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                                                DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                 iv           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                  LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 7 of 40 Page ID #:1025



                   1                                        TABLE OF AUTHORITIES
                                                                  (continued)
                   2                                                                                                              Page(s)
                   3   Drum v. San Fernando Valley Bar Assn.,
                   4     182 Cal. App. 4th 247 (2010) ................................................................. 19, 20, 21

                   5   Dugan v. TGI Fridays, Inc.,
                         231 N.J. 24 (2017) .............................................................................................. 18
                   6
                   7   In re First All. Mortg. Co.,
                           471 F.3d 977 (9th Cir. 2006) ........................................................................ 22, 23
                   8
                       Freeman v. Time, Inc.,
                   9
                          68 F.3d 285 (9th Cir. 1995) ................................................................................ 12
                 10
                       Friedman v. AARP, Inc.,
                 11       No. 14-00034 DDP (PLA), 2019 WL 5683465
                 12       (C.D. Cal. Nov. 1, 2019) ...................................................................................... 9

                 13    Gardiner v. Walmart Inc.,
                         No. 20-CV-04618-JSW, 2021 WL 2520103
                 14
                         (N.D. Cal. Mar. 5, 2021) .................................................................................... 19
                 15
                       Glen Holly Ent., Inc. v. Tektronix, Inc.,
                 16       343 F.3d 1000 (9th Cir. 2003) ............................................................................ 14
                 17
                       Hadley v. Kellogg Sales Co.,
                 18      243 F. Supp. 3d 1074 (N.D. Cal. 2017).............................................................. 19
                 19    Hartmann v. Cal. Dep’t. of Corr. & Rehab.,
                 20      707 F.3d 1114 (9th Cir. 2013) ............................................................................ 25
                 21    Harvey v. Bank of Am., N.A.,
                 22      906 F. Supp. 2d 982 (N.D. Cal. 2012)................................................................ 21

                 23    Hennegan Co. v. Arriola,
                         855 F. Supp. 2d 1354 (S.D. Fla. 2012)................................................................. 7
                 24
                 25    HRCC, Ltd. v. Hard Rock Café Int’l (USA), Inc.,
                         302 F. Supp. 3d 1319 (M.D. Fla. 2016) ............................................................. 10
                 26
                       In re Hydroxycut Mktg. & Sales Pracs. Litig.,
                 27        299 F.R.D. 648 (S.D. Cal. 2014) ........................................................................ 22
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                                               DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                 v           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                 LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 8 of 40 Page ID #:1026



                   1                                           TABLE OF AUTHORITIES
                                                                     (continued)
                   2                                                                                                                      Page(s)
                   3   Izquierdo v. Mondelez Int’l, Inc.,
                   4      No. 16-CV-04697 (CM), 2016 WL 6459832
                          (S.D.N.Y. Oct. 26, 2016) .................................................................................. 7, 9
                   5
                       Knuttel v. Omaze, Inc.,
                   6
                         No. 2:21-CV-09034-SB-PVC, 2022 WL 1843138
                   7     (C.D. Cal. Feb. 22, 2022) ................................................................................... 19
                   8   Kwikset Corp. v. Superior Ct.,
                   9     51 Cal. 4th 310 (2011) ...................................................................................... 7, 8

                 10    Lee v. CarMax Auto Superstores California, LLC,
                          No. CV137648MWFVBKX, 2013 WL 12473808
                 11
                          (C.D. Cal. Dec. 2, 2013) ..................................................................................... 20
                 12
                       Lee v. First Union Nat’l Bank,
                 13       199 N.J. 251 (2009) .......................................................................................... 1, 6
                 14
                       MacNaughten v. Young Living Essential Oils, LLC,
                 15      575 F. Supp. 3d 315 (N.D.N.Y. 2021) ......................................................... 14, 15
                 16    Maniscalco v. Brother Int’l Corp. (USA),
                 17      No. CIV.A. 06CV4907(FLW), 2008 WL 2559365
                         (D.N.J. June 26, 2008) ........................................................................................ 24
                 18
                       In re Monat Hair Care Prod. Mktg., Sales Pracs., & Prod. Liab. Litig.,
                 19
                           No. 18-MD-02841, 2019 WL 5423457 (S.D. Fla. Oct. 23, 2019) ..................... 24
                 20
                       Moore v. Trader Joe’s Co.,
                 21      4 F.4th 874 (9th Cir. 2021) ........................................................................... 12, 13
                 22
                       Muy v. Int’l Bus. Machines Corp.,
                 23      No. 4:19CV14-MW/CAS, 2020 WL 13470560 (N.D. Fla. Apr. 10,
                 24      2020) ................................................................................................................... 24

                 25    Naimi v. Starbucks Corp.,
                         No. LACV176484VAPGJSX, 2018 WL 11255596
                 26      (C.D. Cal. Feb. 28, 2018) ................................................................................... 23
                 27
                       Neilson v. Union Bank of Cal., N.A.,
                 28       290 F. Supp. 2d 1101 (C.D. Cal. 2003) .............................................................. 22
COOLEY LLP
ATTORNEYS AT LAW                                                                                    DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                     vi           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                      LEAD CASE NO. CV 22-163 MWF (SKX)
        Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 9 of 40 Page ID #:1027



                   1                                        TABLE OF AUTHORITIES
                                                                  (continued)
                   2                                                                                                             Page(s)
                   3   New Jersey Citizen Action v. Schering-Plough Corp.,
                   4     842 A.2d 174 (N.J. Super. Ct. App. Div. 2003) ................................................. 12

                   5   In re NJOY Consumer Class Action Litig.,
                           No. CV1400428MMMRZX, 2014 WL 12586074
                   6
                           (C.D. Cal. Oct. 20, 2014).................................................................................... 12
                   7
                       O’Shea v. Littleton,
                   8     414 U.S. 488 (1974) ........................................................................................... 24
                   9
                       Parziale v. HP, Inc.,
                 10      445 F. Supp. 3d 435 (N.D. Cal. 2020)................................................................ 20
                 11    Peguero v. Toyota Motor Sales, USA, Inc.,
                 12      No. 2:20-CV-05889-VAP (ADSx), 2020 WL 10354127
                         (C.D. Cal. Nov. 18, 2020) ............................................................................ 15, 16
                 13
                       Piescik v. CVS Pharmacy, Inc.,
                 14
                          576 F. Supp. 3d 1125 (S.D. Fla. 2021)......................................................... 13, 15
                 15
                       Ponzio v. Mercedes-Benz USA, LLC,
                 16      447 F. Supp. 3d 194 (D.N.J. 2020)..................................................... 7, 10, 11, 12
                 17
                       Porsche Cars N. Am., Inc. v. Diamond,
                 18      140 So. 3d 1090 (Fla. 3d DCA 2014)................................................................. 20
                 19    In re Riddell Concussion Reduction Litig.,
                 20        77 F. Supp. 3d 422 (D.N.J. 2015)......................................................................... 9
                 21    Rubio v. Cap. One Bank,
                 22      613 F.3d 1195 (9th Cir. 2010) ............................................................................ 12

                 23    S.Q.K.F.C., Inc. v. Bell Atl. TriCon Leasing Corp.,
                          84 F.3d 629 (2d Cir. 1996) ........................................................................... 16, 17
                 24
                 25    Saavedra v. Everi Payments, Inc.,
                          No. CV 21-6999 PA (PDX), 2022 WL 17886025
                 26       (C.D. Cal. Apr. 11, 2022) ............................................................................. 19, 21
                 27    San Francisco Residence Club, Inc. v. Amado,
                 28       773 F. Supp. 2d 822 (N.D. Cal. 2011).................................................................. 6
COOLEY LLP
ATTORNEYS AT LAW                                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                               vii          CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 10 of 40 Page ID #:1028



                   1                                        TABLE OF AUTHORITIES
                                                                  (continued)
                   2                                                                                                              Page(s)
                   3   Scala v. Citicorp Inc.,
                   4      No. C 10-03859 CRB, 2011 WL 900297 (N.D. Cal. Mar. 15, 2011) .................. 6

                   5   Silvaco Data Sys. v. Intel Corp.,
                           184 Cal. App. 4th 210 (2010) ............................................................................. 10
                   6
                   7   Silver v. Countrywide Home Loans, Inc.,
                           760 F. Supp. 2d 1330 (S.D. Fla. 2011)............................................................... 14
                   8
                       Solo v. Bed Bath & Beyond, Inc.,
                   9
                          No. CIV. 06-1908 (SRC), 2007 WL 1237825
                 10       (D.N.J. Apr. 26, 2007) .......................................................................................... 9
                 11    Sonner v. Premier Nutrition Corp.,
                 12       971 F.3d 834 (9th Cir. 2020) .............................................................................. 23

                 13    Tellone Prof. Ctr. LLC v. Allstate Ins. Co.,
                          No. 819CV02479JLSKES, 2021 WL 1254360
                 14
                          (C.D. Cal. Jan. 26, 2021) .................................................................................... 24
                 15
                       In re Toshiba Am. HD DVD Mktg. & Sales Pracs. Litig.,
                 16       No. CIV 08-939 (DRD), 2009 WL 2940081 (D.N.J. Sept. 11, 2009) ............... 13
                 17
                       Vitiosus v. Alani Nutrition, LLC,
                 18       No. 21-CV-2048-MMA (MDD), 2022 WL 2441303
                          (S.D. Cal. July 5, 2022) ...................................................................................... 24
                 19
                 20    Wilkins v. Navy Fed. Credit Union,
                          No. CV222916SDWESK, 2023 WL 239976 (D.N.J. Jan. 18, 2023) ................ 14
                 21
                 22    Wofford v. Apple, Inc.,
                         No. 11-cv-0034-AJB (NLS), 2011 WL 5445054
                 23      (S.D. Cal. Nov. 9, 2011) ..................................................................................... 24
                 24    Woods v. Maytag Co.,
                 25      No. 10-CV-0559 ADS WDW, 2010 WL 4314313
                         (E.D.N.Y. Nov. 2, 2010) .................................................................................... 18
                 26
                 27    Yee Ting Lau v. Pret A Manger (USA) Ltd.,
                          No. 17-CV-5775 (LAK), 2018 WL 4682014
                 28       (S.D.N.Y. Sept. 28, 2018) .................................................................................. 25
COOLEY LLP
ATTORNEYS AT LAW                                                                               DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                viii         CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                 LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 11 of 40 Page ID #:1029



                   1                                           TABLE OF AUTHORITIES
                                                                     (continued)
                   2                                                                                                                      Page(s)
                   3   Zaback v. Kellogg Sales Co.,
                   4     No. 3:20-cv-00268-BEN-MSB, 2020 WL 6381987
                         (S.D. Cal. Oct. 29, 2020) .................................................................................... 23
                   5
                       In re ZF-TRW Airbag Control Units Products Liab. Litig.,
                   6
                           601 F. Supp. 3d 625 (C.D. Cal. 2022) ................................................................ 16
                   7
                       Zlotnick v. Premier Sales Grp., Inc.,
                   8      480 F.3d 1281 (11th Cir. 2007) .......................................................................... 12
                   9
                       Zuniga v. Bank of Am. N.A.,
                 10      No. CV 14-06471 MWF, 2014 WL 7156403
                         (C.D. Cal. Dec. 9, 2014) ............................................................................... 19, 20
                 11
                 12    Statutes

                 13    15 U.S.C. § 45(a) ............................................................................................... 19, 21
                 14    18 U.S.C. § 1961........................................................................................................ 4
                 15
                       Cal. Bus. & Prof. Code
                 16       § 17200 ........................................................................................................ passim
                          § 17500 ........................................................................................................ passim
                 17
                 18    Cal. Civ. Code § 1750.................................................................................... 3, 21, 22
                 19    Cal. Corp. Code
                          § 25110 ................................................................................................................. 4
                 20
                          § 25401 ................................................................................................................. 4
                 21       § 25402 ................................................................................................................. 4
                 22       § 25403 ................................................................................................................. 4
                          § 25404 ................................................................................................................. 4
                 23
                       Fla. Stat. Ann. § 517.07 ............................................................................................. 4
                 24
                 25    Florida Deceptive and Unfair Trade Practices Act, Ch. 501, § 17200 ............. passim

                 26    New Jersey Consumer Fraud Act, NJSA 56:8-1 .............................................. passim
                 27    New York General Business Law, Art. 22-A, § 349 ........................................ passim
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                                                    DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                     ix           CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                      LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 12 of 40 Page ID #:1030



                   1                                           TABLE OF AUTHORITIES
                                                                     (continued)
                   2                                                                                                                       Page(s)
                   3   Other Authorities
                   4   Federal Rules of Civil Procedure
                   5      9(b)............................................................................................................... passim
                          12(b)(1) ............................................................................................................. 5, 6
                   6
                          12(b)(6) ................................................................................................................. 5
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ATTORNEYS AT LAW                                                                                     DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                                      x            CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                                       LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 13 of 40 Page ID #:1031



                   1                 MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.    INTRODUCTION
                   3         Despite filing three complaints in less than a year with nominally different
                   4   claims and parties with each successive amendment, Plaintiffs have always advanced
                   5   the same basic theory: Defendants—a cast of Individual Defendants and Celebrity
                   6   Defendants—allegedly promoted EMAX Tokens (the “Tokens”) to “artificially
                   7   increase” their price, and Plaintiffs “purchase[d] these losing investments at inflated
                   8   prices.” (See ECF No. 1 (“CAC”) ¶ 4; ECF No. 41 (the “CCAC”) ¶ 4; SAC ¶ 4.)
                   9   The Court previously found this theory implausible because the Tokens have no
                 10    worth outside of what the market is willing to pay for them in real time. (ECF No. 99
                 11    (the “Order”) at 25.) The Court otherwise dismissed the prior complaint in full due
                 12    to fundamental flaws. The addition of new claims, Defendants, and over 100 pages
                 13    of largely irrelevant allegations does not cure the defects.1
                 14          First, all of Plaintiffs’ state consumer law claims are barred because those laws
                 15    do not apply to alleged securities transactions. 2 The SAC’s allegation that EMAX
                 16    Tokens constitute securities undermines all of Plaintiffs’ consumer law claims
                 17    concerning their alleged purchases of the Tokens.
                 18          Second, the SAC’s state consumer law claims suffer from the same fatal defect
                 19    the Court identified with the prior complaint: failure to plausibly allege that
                 20    Defendants’ alleged statements or omissions caused any cognizable injury.
                 21    Plaintiffs’ new theory of injury is that they purportedly “held onto” the EMAX
                 22    Tokens due to Defendants’ misrepresentations. But Plaintiffs suffered no injury from
                 23    merely holding onto Tokens.
                 24
                 25    1
                         Certain Defendants are filing a concurrent omnibus motion to dismiss the state
                 26    securities laws claims (SAC causes of action nos. 8 and 10–12) alleged against them.
                       Consistent with the Court’s order (ECF No. 117), the bodies of the two omnibus
                 27    memoranda together do not exceed 40 pages.
                 28
                       2
                         Defendants reserve the right to contest whether the EMAX Tokens constitute
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                       securities as Plaintiffs have alleged.
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO                                                    1        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 14 of 40 Page ID #:1032



                   1         Third, as to their state consumer law claims, Plaintiffs fail to plead factual
                   2   allegations showing that a “reasonable consumer” exercising ordinary care would
                   3   likely be misled by the Individual or Celebrity Defendants’ statements.
                   4         Fourth, the lack of cognizable injury—and Plaintiffs’ failure to sufficiently
                   5   plead they could not have reasonably avoided any purported injury—dooms their
                   6   UCL claims.
                   7         Fifth, the aiding and abetting claim again fails to adequately allege knowledge
                   8   of wrongdoing, especially under the heightened pleading standard that applies to their
                   9   claims grounded in fraud.
                 10          Sixth, Plaintiffs fail to state any entitlement to equitable relief due to their
                 11    failure to allege that legal remedies are inadequate. Plaintiffs otherwise fail to plead
                 12    any entitlement to restitution or injunctive relief.
                 13          Thus, the Court should dismiss with prejudice the State Consumer Law and
                 14    California common law claims in the SAC against all Defendants.
                 15    II.   RELEVANT BACKGROUND
                 16          A.      The Court Dismisses Plaintiffs’ Prior Complaint and Identifies
                 17                  Fundamental Flaws in the Complaint’s Theory of Liability.

                 18          The Court’s Order granting Defendants’ omnibus motion to dismiss the CCAC
                 19    identified significant flaws in Plaintiffs’ theory of liability. 3 At bottom, the Court
                 20    held that Plaintiffs “failed to alleged facts supporting the contention that they paid
                 21    more than fair market value for the EMAX Tokens at the time of their purchase.”
                 22    (Order at 25.) “Plaintiffs cannot claim that they paid more than fair market value for
                 23    the EMAX Tokens because the Tokens inherently have no value outside of what the
                 24    market is willing to pay in real-time.” (Id.) In other words, “based on Plaintiffs’ own
                 25    allegations, . . . Plaintiffs could have received far more than what they paid for the
                 26    Tokens had they sold them at the right time.” (Id.) “Plaintiffs’ disappointment with
                 27
                 28
                       3
                         The Court’s Order contains the relevant background concerning Plaintiffs’ factual
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                       allegations regarding EthereumMAX. (See Order at 5–6.)
ATTORNEYS AT LAW                                                                DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                   2          CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                  LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 15 of 40 Page ID #:1033



                   1   the fact that they did not sell their Tokens before the market plummeted was an
                   2   inherent risk of the bargain.” (Id. at 26.) Indeed, as the Court noted, the “inherent
                   3   volatility in market price is precisely why Plaintiffs likely purchased the Tokens in
                   4   the first place.” (Id. at 25.)
                   5          The Court further advised that “the law . . . expects investors to act reasonably
                   6   before basing their bets on the zeitgeist of the moment.” (Id. at 1.) But “even viewing
                   7   the facts in the light most favorable to Plaintiffs,” contradictory allegations
                   8   undermined key aspects of the complaint. (See id. at 11 (noting, for example, that
                   9   EMAX founders publicly told prospective investors that they had not “locked their
                 10    [EMAX] wallets”).) The Court dismissed several claims without leave to amend,
                 11    including state law claims for states where the Named Plaintiffs do not reside and
                 12    Plaintiffs’ California Consumers Legal Remedies Act (“CLRA”) claim “because that
                 13    Act is inapplicable to the sale of intangible goods such as cryptocurrency.” (Id. at
                 14    4.) As for the state consumer law claims, the Court found that the allegations failed
                 15    Rule 9(b), including for failure to adequately allege reliance and causation. (Id. at
                 16    34.) During the last round of motion to dismiss briefing, Plaintiffs maintained that
                 17    these pleading “defects” could be “cured with different phrasing and additional
                 18    factual information.” (ECF No. 75 at 33.)
                 19           B.     Plaintiffs’ Repackaged Complaint Concerning Alleged Investment
                 20                  Losses.

                 21           Plaintiffs filed the SAC on December 22, 2022. (SAC at 159.) The SAC adds
                 22    over 100 pages, but the underlying theory and factual allegations are the same:
                 23    “misleading promotions and celebrity endorsements” caused investors to purchase
                 24    EMAX Tokens at “inflated prices.” (Id. ¶ 4.) The putative class remains “all
                 25    investors who purchased [EMAX Tokens] between May 14, 2021 and June 27, 2021
                 26    [the “Relevant Period”].” (Id. ¶ 1.)
                 27    //
                 28    //
COOLEY LLP
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  3        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 16 of 40 Page ID #:1034



                   1               1.     Plaintiffs Drop RICO Claims and Add State Securities
                   2                      Claims.

                   3         Plaintiffs’ most conspicuous amendment was dropping their federal civil
                   4   “RICO” claims, 18 U.S.C. § 1961, et seq., and adding California and Florida
                   5   securities claims. (See id. ¶¶ 367–376, 385–489 (securities claims under Cal. Corp.
                   6   Code §§ 25401, 25402, 25403, 25404, 25110 and Fla. Stat. Ann. § 517.07).)
                   7               2.     The SAC Adds a Named Plaintiff, Two Defendants, and a
                   8                      “Confidential Witness.”

                   9         In addition to the prior Named Plaintiffs, the SAC adds Michael Buckley, a
                 10    California resident who allegedly “suffered investment losses as a result of
                 11    Defendants’ conduct.” (Id. ¶ 14.) The SAC now names EMAX Holdings, LLC
                 12    (“EMAX Holdings”) and Jona Rechnitz, an alleged “consultant, recruiter, and
                 13    spokesman for EthereumMAX,” as Defendants. (Id. ¶¶ 19, 25.) The SAC also
                 14    references for the first time a “Confidential Witness,” an alleged “former social
                 15    acquaintance” of Rechnitz and Mayweather who “frequently socialized” with “those
                 16    in the Rechnitz orbit.” (Id. ¶ 91.) This unnamed individual allegedly “conducted or
                 17    explored business dealings with . . . Kardashian and Mayweather.” (Id.)
                 18                3.     The SAC Adds Irrelevant and Boilerplate Allegations.
                 19          The SAC’s 100 new pages of largely irrelevant factual and boilerplate legal
                 20    allegations cannot hide the SAC’s deficiencies. Plaintiffs again advance a guilty-by-
                 21    social-acquaintance theory. (See, e.g., SAC ¶¶ 55, 56, 101 (alleging based on tabloid
                 22    news stories that Defendant Rechnitz “has been photographed sitting next to
                 23    Defendant Mayweather courtside at Los Angeles Lakers games,” “recently ‘partied
                 24    the night away’ at Art Basel” with Defendant Kardashian, and is “close personal
                 25    friends” with Defendant Brown and Defendant Pierce).) And Plaintiffs again resort
                 26    to the same “kitchen sink” group allegations and conclusory language regarding the
                 27    Celebrity Defendants’ knowledge of alleged wrongdoing. (See Order at 40–41
                 28    (faulting the CCAC’s “theory of knowledge”); compare CCAC ¶ 149 (alleging
COOLEY LLP
ATTORNEYS AT LAW                                                           DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                4        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                             LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 17 of 40 Page ID #:1035



                   1   Celebrity Defendants “knew or should have known” EMAX’s marketing strategy
                   2   was unlawful based on their “previous knowledge and experience”), with SAC ¶ 381
                   3   (same allegation but omitting “should have known”).)
                   4          C.    The State Consumer Law and California Common Law Claims.
                   5          The SAC asserts the following state consumer protection law claims (the
                   6   “State Consumer Laws”): (1) the California Unfair Competition Law (“UCL”), Cal.
                   7   Bus. & Prof. Code § 17200, et seq., against all Defendants (claims 1–3) (SAC ¶¶
                   8   186–211 (unlawful prong), ¶¶ 212–244 (unfair prong), ¶¶ 245–270 (fraudulent
                   9   prong)); (2) the California False Advertising Law (“FAL”), Cal. Bus. & Prof. Code
                 10    § 17500, et seq., against Defendant Kardashian (claim 4) (id. ¶¶ 271–286); (3) the
                 11    Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Ch. 501, § 17200,
                 12    Fla. Stat. Ann., against all Defendants (claim 5) (id. ¶¶ 287–320); (4) the New York
                 13    General Business Law (“N.Y. GBL”), Art. 22-A, § 349, et seq., against the Individual
                 14    Defendants and Pierce, Brown, Mayweather, and Kardashian (claim 6) (id. ¶¶ 321–
                 15    343); and (5) the New Jersey Consumer Fraud Act (“N.J. CFA”), NJSA 56:8-1, et
                 16    seq., against the Individual Defendants and Mayweather and Kardashian (claim 7)
                 17    (id. ¶¶ 344–366). Plaintiffs also bring California common law claims for aiding and
                 18    abetting violations of the State Consumer Laws against Maher and Celebrity
                 19    Defendants (claim 9) (id. ¶¶ 377–384), and California common law claims for “unjust
                 20    enrichment/restitution” against all Defendants (claim 13) (id. ¶¶ 490–493). 4
                 21    III.   LEGAL STANDARDS
                 22           Defendants incorporate the Court’s prior discussion of the applicable Rule 9(b)
                 23    and 12(b)(6) standards. (See Order at 12–13.) In addition, Rule 12(b)(1) allows a
                 24    defendant to move for dismissal on grounds that the court lacks subject-matter
                 25    jurisdiction. Fed. R. Civ. P. 12(b)(1). In a facial jurisdictional challenge, the Court
                 26    4
                         Because the Court’s Order on the CCAC dismissed as a matter of law without leave
                 27    to amend “claims brought under state laws by Named Plaintiffs that do not reside in
                 28    the respective state” (Order at 32), the SAC’s state law claims must be dismissed to
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                       the extent they are brought on behalf of Plaintiffs who do not reside in the state.
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 5        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 18 of 40 Page ID #:1036



                   1   accepts the complaint’s factual allegations as true. See Batista v. Irwin Nats., No.
                   2   CV 20-10737-DMG (EX), 2021 WL 6618543, at *2 (C.D. Cal. Sept. 27, 2021).
                   3   IV.   ARGUMENT
                   4         A.  Plaintiffs’ Claims Are Barred Because the State Consumer Laws Do
                                 Not Apply to Alleged Securities Transactions.
                   5
                   6         Plaintiffs’ allegations that the Token is a security requires dismissal of the
                   7   State Consumer Law claims, which do not apply to securities transactions or the
                   8   purchase of securities. The UCL does not apply to such claims, requiring dismissal
                   9   of claims 1, 2, and 3. See Bowen v. Ziasun Techs., Inc., 116 Cal. App. 4th 777, 788
                 10    (2004), as modified on denial of reh’g (Apr. 7, 2004); Scala v. Citicorp Inc., No. C
                 11    10-03859 CRB, 2011 WL 900297, at *7 n.7 (N.D. Cal. Mar. 15, 2011) (UCL does
                 12    not reach “misrepresentations and omissions that occurred ‘in connection with’ the
                 13    purchase or sale of covered securities”); San Francisco Residence Club, Inc. v.
                 14    Amado, 773 F. Supp. 2d 822, 834 (N.D. Cal. 2011) (dismissing UCL claims because
                 15    “plaintiffs’ theory unavoidably focuses on the purchase of securities, and Bowen is
                 16    determinative”). Nor do the Florida (claim 5), New Jersey (claim 7), or New York
                 17    laws (claim 6) apply to securities transactions. See Blank v. TriPoint Global Equities,
                 18    LLC, 338 F. Supp. 3d 194, 221 (S.D.N.Y. 2019) (“‘[C]laims arising out of securities
                 19    transactions are not the type of consumer transactions for which General Business
                 20    Law § 349 was intended to provide a remedy.’”); Lee v. First Union Nat’l Bank, 199
                 21    N.J. 251, 263 (2009) (“[T]he CFA was not meant to reach the sale of securities.”);
                 22    Crowell v. Morgan, Stanley, Dean Witter Servs. Co., 87 F. Supp. 2d 1287, 1294–95
                 23    (S.D. Fla. 2000) (“[T]he Florida Supreme Court, if confronted with the question
                 24    whether the [FDUTPA] applies to claims arising from securities transactions, would
                 25    hold that it does not.”).
                 26          Plaintiffs allege the Tokens are securities (SAC ¶¶ 395, 449, 454), and
                 27    simultaneously assert claims under the State Consumer Laws concerning their
                 28    purchases of the Tokens (see e.g., id. ¶¶ 204, 207, 237, 240, 261, 273, 289, 295).
COOLEY LLP
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 6        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 19 of 40 Page ID #:1037



                   1   Because the UCL, FAL, FDUTPA, N.J. CFA, and N.Y. GBL do not apply to
                   2   securities transactions, the Court should dismiss these claims without leave.
                   3         B.     Plaintiffs Have Not Alleged that Defendants’ Conduct Caused
                   4                Cognizable Injury Under Any of the State Consumer Laws.

                   5         Plaintiffs’ State Consumer Law claims continue to suffer from the same fatal
                   6   defect: a failure to plausibly allege that Defendants’ alleged statements or omissions
                   7   caused any cognizable injury. The UCL and FAL require that a plaintiff “(1)
                   8   establish a loss or deprivation of money or property sufficient to qualify as injury in
                   9   fact, i.e., economic injury, and (2) show that that economic injury was the result of,
                 10    i.e., caused by, the unfair business practice.” Kwikset Corp. v. Superior Ct., 51 Cal.
                 11    4th 310, 322 (2011). To raise a FDUTPA damages claim, a plaintiff must establish
                 12    “(1) a deceptive act or unfair practice; (2) causation; and (3) actual damages.” City
                 13    First Mortg. Corp. v. Barton, 988 So. 2d 82, 86 (Fla. 4th DCA 2008) (internal
                 14    quotation marks omitted). Damages must “directly flow from the alleged deceptive
                 15    act or unfair practice” and cannot be “remote or speculative.” Hennegan Co. v.
                 16    Arriola, 855 F. Supp. 2d 1354, 1361 (S.D. Fla. 2012). The N.J. CFA requires an
                 17    “ascertainable loss on the part of the plaintiff,” i.e., “an out-of-pocket loss or a
                 18    demonstration of loss in value that is quantifiable or measurable.”          Ponzio v.
                 19    Mercedes-Benz USA, LLC, 447 F. Supp. 3d 194, 242, 244 (D.N.J. 2020) (citation
                 20    omitted). Under the N.Y. GBL, “[a]n actual injury claim under [s]ection 349
                 21    typically requires a plaintiff to ‘allege that, on account of a materially misleading
                 22    practice, she purchased a product and did not receive the full value of her purchase.’”
                 23    Izquierdo v. Mondelez Int’l, Inc., No. 16-CV-04697 (CM), 2016 WL 6459832, at *7
                 24    (S.D.N.Y. Oct. 26, 2016).
                 25          Plaintiffs allege three principal injuries: (1) purchasing Tokens at artificially
                 26    inflated prices, i.e., “investment losses,” (2) holding onto Tokens, and (3) an alleged
                 27    diminution in the value of their Tokens. Each injury is insufficient to state a claim.
                 28
COOLEY LLP
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 7        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 20 of 40 Page ID #:1038



                   1                1.     Plaintiffs Cannot Plausibly Allege Injury from Purchasing
                   2                       Tokens at Allegedly Artificially Inflated Prices.

                   3         Nearly all Plaintiffs allege in boilerplate fashion that they “would not have
                   4   proceeded with their transactions” “at all or for the price they paid” but for the alleged
                   5   misrepresentations and omissions. 5 (SAC ¶¶ 204, 237, 261, 335, 357, 360.) This
                   6   theory is nothing more than Plaintiffs’ attempt to repackage their allegations that
                   7   allegedly misleading promotions “artificially increase[d] the . . . price of the EMAX
                   8   Tokens during the Relevant Time Period, causing investors to purchase these losing
                   9   investments at inflated prices.” (Id. ¶¶ 4, 6–15, 161, 314.) The Court previously
                 10    found these allegations failed to show a concrete financial loss. (Order at 24.) The
                 11    Court explained “Plaintiffs cannot claim that they paid more than fair market value
                 12    for the EMAX Tokens because the Tokens inherently have no value outside of what
                 13    the market is willing to pay in real-time.” (Id. at 25 (emphasis in original).) In other
                 14    words, Plaintiffs paid exactly what the Tokens were worth at the time of their
                 15    purchases. That logic requires dismissal of the State Consumer Law claims here.6
                 16          The California Plaintiffs lack statutory standing under the UCL and FAL for
                 17    allegedly purchasing Tokens at artificially inflated prices.          While an alleged
                 18    overpayment may establish standing under the UCL and FAL, see Kwikset, 51 Cal.
                 19    4th at 324, the Court’s prior determination that the Tokens have no value outside of
                 20    what the market is willing to pay for them in real-time means that Plaintiffs cannot
                 21    plausibly claim they overpaid for the Tokens, which defeats standing under the UCL
                 22
                 23    5
                         Several Plaintiffs point to alleged misrepresentations and omissions that occurred
                 24    after an alleged purchase. (See, e.g., SAC ¶¶ 89, 195, 200, 328–30, 353.) But the
                       Court has also already explained that Plaintiffs cannot plead actual reliance if they
                 25    “purchased their EMAX Tokens prior to certain of the statements they allegedly
                 26    relied on.” (Order at 37 (emphasis added).) Plaintiffs therefore cannot state any
                       claims against the Defendants for post-purchase representations.
                 27    6
                         The Court’s prior Order also requires dismissal of the unjust enrichment/restitution
                 28    claim (claim 13), which is premised on alleged purchases of Tokens at “artificially
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                       inflated prices.” (SAC ¶ 491.)
ATTORNEYS AT LAW                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                   8        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 21 of 40 Page ID #:1039



                   1   and FAL premised on alleged overpayments. See Friedman v. AARP, Inc., No. 14-
                   2   00034 DDP (PLA), 2019 WL 5683465, at *6 (C.D. Cal. Nov. 1, 2019) (“Absent
                   3   allegations that Plaintiffs paid more than the value of the product, measured by a non-
                   4   hypothetical theory, Plaintiffs have not plausibly alleged economic harm. Thus, . . .
                   5   Plaintiffs lack standing under the UCL.”)
                   6         The Florida, New Jersey, and New York state law claims fare no better.
                   7   Plaintiffs do not and cannot allege—as the Court has already determined—facts
                   8   showing they paid more for the Tokens than what the Tokens were worth. See In re
                   9   Caterpillar, Inc., C13 & C15 Engine Prod. Liab. Litig., No. 1:14-CV-3722 JBS-JS,
                 10    2015 WL 4591236, at *38–39 (D. N.J. July 29, 2015) (dismissing FDUTPA and N.J.
                 11    CFA claims where plaintiffs provided no “reasonable means of quantifying the
                 12    difference in value between the product promised and the one received”); In re
                 13    Riddell Concussion Reduction Litig., 77 F. Supp. 3d 422, 438 (D.N.J. 2015) (stating
                 14    that a N.J. CFA claim requires allegations showing a “difference in value between
                 15    the product promised and the one received”); Solo v. Bed Bath & Beyond, Inc., No.
                 16    CIV. 06-1908 (SRC), 2007 WL 1237825, at *3 (D.N.J. Apr. 26, 2007) (dismissing
                 17    CFA claim where plaintiff did not allege with requisite “specificity” “that what he
                 18    did receive[ ] was of lesser value than what was promised”). “Simply because
                 19    Plaintiffs here recite the word[s] [artificially inflated] multiple times in their
                 20    Complaint does not make Plaintiffs’ injury any more cognizable.” Izquierdo, 2016
                 21    WL 6459832, at *7 (dismissing N.Y. GBL § 349 claim concerning alleged payment
                 22    of a “premium” for candy purchased at a movie theater).
                 23                 2.    Plaintiffs Cannot Allege Injury from Holding onto Tokens.
                 24          While all Plaintiffs now allege holding onto Tokens due to alleged
                 25    misrepresentations, Plaintiffs suffered no injury from merely holding onto Tokens
                 26    that have no inherent value. To begin, the California Plaintiffs cannot possess UCL
                 27    or FAL standing to challenge alleged statements that caused them to hold onto
                 28    Tokens. (See SAC ¶¶ 195–201.) Merely holding onto a Token does not result in a
COOLEY LLP
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                   9      CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 22 of 40 Page ID #:1040



                   1   loss of any money or property because, by definition, a “loss” means to part with
                   2   money or property. See Silvaco Data Sys. v. Intel Corp., 184 Cal. App. 4th 210, 244
                   3   (2010) (“[W]hen we say someone has ‘lost’ money we mean that he has parted,
                   4   deliberately or otherwise, with some identifiable sum formerly belonging to him or
                   5   subject to his control; it has passed out of his hands.”), abrogated on other grounds
                   6   by Kwikset, 51 Cal. 4th 310.
                   7         The Florida Plaintiffs’ similar “hold[ing]” allegations (SAC ¶¶ 305, 308),
                   8   which amount to nothing more than conjecture that Plaintiffs suffered by not selling
                   9   their Tokens during a price spike, are also insufficient because a plaintiff cannot seek
                 10    lost profits under the FDUTPA. See HRCC, Ltd. v. Hard Rock Café Int’l (USA), Inc.,
                 11    302 F. Supp. 3d 1319, 1323 (M.D. Fla. 2016) (“[A]ctual damages [under FDUTPA]
                 12    must be direct damages, not consequential damages in the form of lost profits”);
                 13    Diversified Mgmt. Solutions, Inc. v. Control Sys. Rsch., Inc., No. 15-81062-CIV,
                 14    2016 WL 4256916, at *5 (S.D. Fla. May 16, 2016) (“Lost profits are a ‘quintessential
                 15    example’ of consequential damages.”). Thus, the Court should dismiss the Florida
                 16    Plaintiffs’ FDUTPA damages claim for allegedly holding onto Tokens.
                 17          The New Jersey Plaintiffs cannot state a N.J. CFA claim for allegedly holding
                 18    onto the Tokens because they do not plead any facts quantifying an ascertainable loss
                 19    from an alleged diminution in value. (See, e.g., SAC ¶¶ 344–66); Ponzio, 447 F.
                 20    Supp. 3d at 244 (dismissing CFA claim concerning alleged diminution in vehicle’s
                 21    value due to absence of any information to quantify the loss). Thus, the Court should
                 22    dismiss any N.J. CFA damages claims premised on holding Tokens.
                 23                 3.     Plaintiffs Cannot Plausibly Allege that Defendants Caused
                 24                        Alleged Diminutions in the Token’s Value.
                 25          As in the prior complaint, Plaintiffs allege that the Token’s value dropped, and
                 26    they were left holding worthless Tokens. (SAC ¶¶ 160–61, 163.) But this alleged
                 27    diminution in the value of the Tokens that Plaintiffs purchased is insufficient. The
                 28    N.J. CFA and FDUTPA claims fail because Plaintiffs again do not allege any specific
COOLEY LLP
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 10        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 23 of 40 Page ID #:1041



                   1   facts quantifying a purported injury from any diminution in the value of the Tokens
                   2   they purchased. See, e.g., In re Caterpillar, 2015 WL 4591236, at *38 (dismissing
                   3   CFA claim where plaintiffs provided no information from which court could
                   4   calculate “losses stemming from the diminished value of their vehicles”); id.
                   5   (dismissing damages claim under FDUTPA where plaintiffs did not plead
                   6   “diminished value” of purchased vehicles “with any specificity” and provided no
                   7   “facts from which such value could be calculated”); Ponzio, 447 F. Supp. 3d at 244
                   8   (dismissing CFA claim where plaintiff allegedly overpaid for vehicle at time of
                   9   purchase and vehicle’s value later dropped but provided no “information to otherwise
                 10    quantify his loss”).
                 11          Even if Plaintiffs had plausibly alleged diminutions in the value of the Tokens
                 12    they purchased (they have not), Plaintiffs have not plausibly alleged that Defendants’
                 13    statements caused the alleged diminutions. To the contrary, the SAC alleges “exactly
                 14    the opposite.” See In re Actimmune Mktg. Litig., No. C 08-02376 MHP, 2010 WL
                 15    3463491, at *10 (N.D. Cal. Sept. 1, 2010) (concluding plaintiffs failed to allege
                 16    causation where the complaint alleged the opposite of what plaintiffs alleged harmed
                 17    them), aff’d, 464 F. App’x 651 (9th Cir. 2011). Plaintiffs allege that Defendants’
                 18    statements increased the Token’s value. (SAC ¶¶ 4, 129, 162 (alleging that the
                 19    “improper promotional activities generated the trading volume” to increase the
                 20    value).) Those allegations render implausible the notion that Defendants’ alleged
                 21    statements or misrepresentations caused any alleged diminution in the Token’s value.
                 22          Moreover, and fatal to all State Consumer Law claims premised on alleged
                 23    diminutions, the SAC otherwise shows that any alleged diminution in the Token’s
                 24    value was not plausibly the result of Defendants’ alleged statements but rather other
                 25    market factors, specifically, the inherent volatility of a new cryptocurrency and
                 26    decisions by third party investors. (See SAC ¶ 148 (referring to the Token as a
                 27    “highly volatile, speculative market that’s little different than gambling”); id. ¶¶ 202,
                 28    235, 263, 307, 332 (referring to “a highly speculative and risky investment in EMAX
COOLEY LLP
ATTORNEYS AT LAW                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  11        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 24 of 40 Page ID #:1042



                   1   Tokens”).) Plaintiffs’ inability to plausibly claim that Defendants’ alleged statements
                   2   caused any diminutions in value defeats UCL and FAL standing, as well as the other
                   3   State Consumer Law claims. See Rubio v. Cap. One Bank, 613 F.3d 1195, 1203–04
                   4   (9th Cir. 2010) (a plaintiff must show a “‘causal connection’ between [the] alleged
                   5   UCL violation and [the] injury”); Ponzio, 447 F. Supp. 3d at 242 (N.J. CFA requires
                   6   a “causal relationship between the defendants’ unlawful conduct and the plaintiff’s
                   7   ascertainable loss”); In re NJOY Consumer Class Action Litig., No.
                   8   CV1400428MMMRZX, 2014 WL 12586074, at *15 (C.D. Cal. Oct. 20, 2014)
                   9   (causation required for FDUTPA and N.Y. GBL).
                 10          C.     The Alleged Misrepresentations and Omissions Are Not Actionable.
                 11          Plaintiffs fail to state any UCL, FDUTPA, N.Y. GBL, or N.J. CFA claims for
                 12    alleged misrepresentations and omissions. “[T]he law . . . expects investors to act
                 13    reasonably before basing their bets on the zeitgeist of the moment.” (Order at 1.)
                 14    But Plaintiffs fail to plead factual allegations showing that a “reasonable consumer”
                 15    exercising ordinary care would likely be misled. Moore v. Trader Joe’s Co., 4 F.4th
                 16    874, 881, 886 (9th Cir. 2021) (standard under California and New York law);
                 17    Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1026 (9th Cir. 2008) (California
                 18    law); Zlotnick v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007)
                 19    (similar for Florida law); New Jersey Citizen Action v. Schering-Plough Corp., 842
                 20    A.2d 174, 177 (N.J. Super. Ct. App. Div. 2003) (similar for New Jersey law).
                 21          The reasonable consumer is the average person of “ordinary” intelligence, not
                 22    an “unwary consumer” or an especially vulnerable or uninformed individual.
                 23    Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995) (citations omitted). Context,
                 24    common sense, and common knowledge are relevant factors. See Moore, 4 F.4th at
                 25    883, 886 (affirming dismissal of California and New York law claims because a
                 26    reasonable consumer would not be misled given “three key contextual inferences
                 27    from the product [sold]. . . which [were] readily available”); Casey v. Fla. Coastal
                 28    Sch. of L., Inc., No. 3:14-CV-1229-J-39PDB, 2015 WL 10096084, at *15–16 (M.D.
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ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 12       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 25 of 40 Page ID #:1043



                   1   Fla. Aug. 11, 2015) (dismissing FDUTPA claim by graduates of for-profit law school
                   2   given “common knowledge that law-school rankings correlate with legal-job
                   3   prospects, law graduates do not necessarily work as lawyers, and the downturn in the
                   4   economy meant fewer jobs”), report and recommendation adopted, 2015 WL
                   5   10818746 (M.D. Fla. Sept. 29, 2015).
                   6                1.    The Alleged Misrepresentations Would Not Plausibly
                   7                      Mislead Reasonable Consumers.

                   8         Plaintiffs allege two broad categories of misrepresentations—statements
                   9   allegedly concerning (i) the ability to make money from investing in the Token (e.g.,
                 10    SAC ¶¶ 3, 88, 110) and (ii) the ability to use EMAX Tokens as barter payment at
                 11    certain venues or events (e.g., id. ¶¶ 124, 126)—but neither states a plausible claim.
                 12          Common sense and common knowledge regarding the volatility and riskiness
                 13    of cryptocurrency markets, including that of the Token, render implausible the notion
                 14    that Defendants’ alleged statements (particularly celebrity endorsements on social
                 15    media) regarding the ability to make money from purchasing the Token would likely
                 16    mislead reasonable consumers. See Piescik v. CVS Pharmacy, Inc., 576 F. Supp. 3d
                 17    1125, 1133–34 (S.D. Fla. 2021) (dismissing FDUTPA claim regarding hand sanitizer
                 18    label due to consumers’ close familiarity with the product and its functionality after
                 19    a two-year global pandemic); Moore, 4 F.4th at 882, 885 (affirming dismissal of
                 20    UCL, FAL, and N.Y. GBL claims premised on allegedly deceptive advertising after
                 21    considering “all information available to consumers and the context in which that
                 22    information is provided and used” (citation omitted)); In re Toshiba Am. HD DVD
                 23    Mktg. & Sales Pracs. Litig., No. CIV 08-939 (DRD), 2009 WL 2940081, at *12–13
                 24    (D.N.J. Sept. 11, 2009) (considering public knowledge of well-publicized “format
                 25    war” between HD DVD and Blu-ray in determining alleged representations were not
                 26    actionable under CFA). The Token’s riskiness was not a secret. Plaintiffs repeatedly
                 27    acknowledge that cryptocurrencies and the Token are “volatile,” “speculative,” and
                 28    “risky.” (See, e.g., SAC ¶¶ 148 & n.77, 175, 202, 221, 235, 307).) Plaintiffs also
COOLEY LLP
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                13        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 26 of 40 Page ID #:1044



                   1   allege various Defendants publicly addressed the riskiness of the Token (see id. ¶¶
                   2   114–115 (warning the public to “[t]hink long and hard” about whether they could
                   3   “risk this money and still pay [their] bills”)), and the “drastic price fluctuation” that
                   4   the Token experienced (id. ¶ 131). This well-known “inherent volatility” was why
                   5   the Token appealed to consumers; it offered the chance of a financial windfall. (See
                   6   Order at 25.) Thus, alleged representations concerning the ability to earn returns
                   7   from investing in EMAX (e.g., SAC ¶¶ 82 (Pierce’s alleged post regarding his
                   8   EMAX returns outpacing his ESPN salary), 147 (Kardashian’s alleged post about the
                   9   EMAX team burning Tokens)), would not mislead reasonable consumers to believe
                 10    the Token was a risk-free or low-risk opportunity.
                 11          Moreover, the puffery, optimistic future predictions, exaggerations, and
                 12    opinions in the alleged posts are not actionable. See, e.g., Glen Holly Ent., Inc. v.
                 13    Tektronix, Inc., 343 F.3d 1000, 1015 (9th Cir. 2003) (affirming dismissal of claims
                 14    premised on statements “describing the ‘high priority’ [defendant] placed on product
                 15    development and alluding to marketing efforts” as “generalized, vague and
                 16    unspecific assertions, constituting mere ‘puffery’ upon which a reasonable consumer
                 17    could not rely”), opinion amended on denial of reh’g, 352 F.3d 367 (9th Cir. 2003);
                 18    Wilkins v. Navy Fed. Credit Union, No. CV222916SDWESK, 2023 WL 239976, at
                 19    *16 (D.N.J. Jan. 18, 2023) (statements that mobile payment application was “safe”
                 20    and “secure” were puffery because they were “not concrete or measurable”); Silver
                 21    v. Countrywide Home Loans, Inc., 760 F. Supp. 2d 1330, 1342–43 (S.D. Fla. 2011)
                 22    (explaining opinions and “projections about future events” are “puffing,” and “not to
                 23    be taken seriously,” “not to be relied upon,” and “not binding as a legal obligation or
                 24    promise”); MacNaughten v. Young Living Essential Oils, LLC, 575 F. Supp. 3d 315,
                 25    327 (N.D.N.Y. 2021) (statement on product labels reading “100% Pure, Therapeutic-
                 26    Grade” was puffery because it lacks a “concrete discernable meaning”). Numerous
                 27    alleged representations are puffery. (See, e.g., SAC ¶ 132 (Maher’s alleged statement
                 28    that “The EMax team is trying to make radical moves”), id. (Davis’s alleged
COOLEY LLP
ATTORNEYS AT LAW                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  14        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 27 of 40 Page ID #:1045



                   1   statements that “[the Token price] is a rock bottom right now” and “This is a Solid
                   2   BUYING OPPORTUNITY in my mind!!”).)                  Various alleged posts also had
                   3   contextual clues—jokes, slang, and/or emojis (see, e.g., id. ¶¶ 76, 82, 87, 127)—
                   4   showing the posts were not to be taken literally and were not reliable facts. See
                   5   Apodaca v. Whirlpool Corp., No. SACV 13-00725 JVS, 2013 WL 6477821, at *6
                   6   (C.D. Cal. Nov. 8, 2013) (advertising statements were non-actionable given their
                   7   humor).
                   8         As for alleged representations regarding the ability to use the Token at certain
                   9   events or venues, Plaintiffs fail to plead how such statements were false when made
                 10    or would likely mislead reasonable consumers. A reasonable consumer would not
                 11    expect to use the Token as a form of payment in most transactions because it is
                 12    common sense and common knowledge that cryptocurrencies are not a widely
                 13    accepted form of payment. (Order at 26 (referring to the Token as “another, widely
                 14    unaccepted, form of money”); see also Piescik, 576 F. Supp. 3d at 1133–34 . While
                 15    Plaintiffs point to Club LIV and Story’s inability to accept the Tokens, Plaintiffs
                 16    provide no factual allegations showing that Defendants knew of this inability at the
                 17    time of the alleged representations. Plaintiffs’ allegations otherwise show that
                 18    consumers could use Tokens as a form of payment in limited circumstances, such as
                 19    for the Mayweather vs. Paul fight on June 6, 2021. (SAC ¶¶ 131, 147.) In short, the
                 20    misrepresentation allegations are insufficient to state a claim.
                 21                 2.     The Alleged Omissions Are Not Actionable.
                 22          Plaintiffs’ boilerplate omission claims fail because they constitute improper
                 23    group pleading in violation of Rule 9(b)’s requirement to plead with particularity
                 24    each Defendant’s purported omission.7 See Downey Surgical Clinic, Inc. v. Ingenix,
                 25
                 26
                       7
                         The SAC cites Second Circuit case law to plead that the N.Y. GBL claim is not
                       subject to Rule 9(b). (SAC ¶ 325.) But this Court “is bound to follow Ninth Circuit
                 27    precedent,” which requires the application of Rule 9(b) to claims grounded in fraud.
                 28    See Peguero v. Toyota Motor Sales, USA, Inc., No. 2:20-cv-05889-VAP (ADSx),
COOLEY LLP
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 15        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 28 of 40 Page ID #:1046



                   1   Inc., No. CV 09-5457 PSG (CTX), 2013 WL 12114070, at *9 (C.D. Cal. Dec. 11,
                   2   2013) (“Lumping defendants [alleged to have committed fraudulent acts under the
                   3   UCL] together will simply not do, for each and every [ ] Defendant in this action is
                   4   entitled to fair notice of the fraud claims alleged against it.”); In re ZF-TRW Airbag
                   5   Control Units Products Liab. Litig., 601 F. Supp. 3d 625, 773 (C.D. Cal. 2022)
                   6   (dismissing FDUTPA claim where complaint “lump[ed]” defendants together while
                   7   alleging they had failed to disclose information). Plaintiffs allege in conclusory
                   8   fashion that “Defendants” withheld or concealed information but do not explain why
                   9   each Defendant had to disclose that information. (See, e.g., SAC ¶ 333 (failing to
                 10    identify who “knowingly and intentionally conceal[ed] the Executive Defendants’
                 11    specific roles and ownership interests,” who “fail[ed] to disclose the use of the
                 12    Promotor Defendants to ‘instill trust,’” etc.).)
                 13          Even if the Court considers the omission claims further, Plaintiffs fail to allege
                 14    facts showing why reasonable consumers would find the alleged omissions
                 15    deceptive. See Downey, 2013 WL 12114070, at *9 (explaining that under Rule 9(b),
                 16    a plaintiff must explain “why [the alleged] omission complained of [is] false and
                 17    misleading”); S.Q.K.F.C., Inc. v. Bell Atl. TriCon Leasing Corp., 84 F.3d 629, 636–
                 18    37 (2d Cir. 1996) (affirming dismissal of N.Y. GBL claim where “a reasonable
                 19    consumer would not have been misled by [defendant’s] conduct”).                Plaintiffs
                 20    complain of four broad types of alleged omissions, but each is insufficient.
                 21          First, while Plaintiffs allege a failure to disclose the Individual Defendants’
                 22    specific roles and ownership interests (e.g., SAC ¶ 263(a)), Plaintiffs do not allege
                 23    why these specific roles and ownership interests, or knowledge of them by any
                 24    Defendant, would be material to a reasonable consumer. For example, their theory
                 25    that reasonable consumers would have made different investing decisions if the
                 26
                       2020 WL 10354127, at *9 (C.D. Cal. Nov. 18, 2020) (rejecting reliance on Second
                 27    Circuit case law and applying Rule 9(b) to N.Y. GBL claims grounded in fraud).
                 28    Indeed, the Court has already held that Rule 9(b) applies to the N.Y. GBL claim.
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                       (Order at 34.)
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  16       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 29 of 40 Page ID #:1047



                   1   Individual Defendants had, for example, publicly indicated that they held a
                   2   “significant percentage[ ] of the available Float” requires leaps of logic. (Id. ¶ 264.)
                   3   Plaintiffs do not allege they ever sought out such information. Even if they had, a
                   4   reasonable consumer would easily conclude that the Individual Defendants likely
                   5   held a significant portion of available Tokens because they were confident in the
                   6   Token’s growth potential.       Plaintiffs’ allegation that they would have acted
                   7   differently had they known that the Individual Defendants had not “lock[ed] the[ir]
                   8   wallets” (id.) is implausible. As the Court has already noted, Plaintiffs allege
                   9   “Defendant Perone specifically told the public that the Executive Defendants” had
                 10    not yet done so. (Order at 11; see SAC ¶ 146.)
                 11           Second, Plaintiffs allege a failure to disclose that the increase in the Token’s
                 12    price right after its launch “w[as] caused by manipulation by the Executive
                 13    Defendants” rather than an “organic increase in interest from investors.” (E.g., SAC
                 14    ¶ 263(b).) However, Plaintiffs do not allege why a reasonable consumer would care
                 15    about “organic” price increases. Nor can Plaintiffs state a claim grounded in fraud
                 16    by relying on an inference that a consumer investing in a highly volatile
                 17    cryptocurrency would care about organic price increases. As this Court already
                 18    explained: “[T]here is certainly a plausible non-deceitful purpose for a new venture
                 19    to use celebrity endorsements to generate public interest.” (Order at 30.)
                 20           Third, Plaintiffs allege a failure to disclose that the Tokens were not acceptable
                 21    forms of payment and “would not be at any point in the foreseeable future.” (E.g.,
                 22    SAC ¶ 202(c).) But Plaintiffs do not allege that the Tokens were not accepted at the
                 23    Mayweather vs. Paul fight (id. ¶ 126), which indicates that the Tokens were accepted
                 24    at certain venues. To the extent Plaintiffs imply they should have been able to use
                 25    EMAX Tokens to pay for goods and services everywhere, that theory is implausible
                 26    because no cryptocurrency is widely accepted as a form of payment. (See Order at
                 27    26.)
                 28           Fourth, Plaintiffs allege a failure to disclose the use of Celebrity Defendants
COOLEY LLP
ATTORNEYS AT LAW                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  17        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 30 of 40 Page ID #:1048



                   1   “to ‘instill trust’” in a “highly speculative and risky investment.” (See, e.g., SAC
                   2   ¶ 235.) But the SAC shows that the use of celebrities to promote the Token was no
                   3   secret. The Individual Defendants publicly disclosed this strategy, and it was self-
                   4   evident from alleged social media posts and other conduct that Celebrity Defendants
                   5   were promoting the new cryptocurrency. (Id. ¶¶ 69, 119, 144 (alleged public
                   6   representations by EthereumMax, Individual Defendants, and Gentile about use of
                   7   celebrity influencers); see also, e.g., id. ¶¶ 128, 133, 141 (example allegations of
                   8   posts and other alleged promotional activities).)
                   9         The alleged omissions are also not actionable because Plaintiffs fail to allege
                 10    Defendants’ knowledge of the omitted information. See Woods v. Maytag Co., No.
                 11    10-CV-0559 ADS WDW, 2010 WL 4314313, at *16 (E.D.N.Y. Nov. 2, 2010)
                 12    (dismissing N.Y. GBL omission claim where plaintiff’s allegations did not show
                 13    defendants “had knowledge of the defect”); Dugan v. TGI Fridays, Inc., 231 N.J. 24,
                 14    51 (2017) (N.J. CFA claim requires a plaintiff to show that the defendant had
                 15    knowledge of the omitted information and the defendant intended for others to rely
                 16    on the omission); see also Daugherty v. Am. Honda Motor Co., 144 Cal. App. 4th
                 17    824, 835 (2006) (UCL and FAL claims require an omission “contrary to a
                 18    representation actually made by [a] defendant,” or a defendant must have an
                 19    affirmative duty to disclose), as modified (Nov. 8, 2006). For example, Plaintiffs fail
                 20    to allege facts showing that any Defendant knew all allegedly omitted information
                 21    (e.g., the Individual Defendants’ respective ownership interests), and certainly do not
                 22    plead that each Defendant had complete or “exclusive knowledge” of such
                 23    information. (See Order at 31 (describing allegations of Celebrity Defendants’
                 24    knowledge regarding alleged pump and dump scheme as “conclusory,” and
                 25    explaining “Plaintiffs fail to illuminate . . . why posting an endorsement necessitates
                 26    knowledge”).)
                 27    //
                 28    //
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ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 18        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 31 of 40 Page ID #:1049



                   1         D.       Plaintiffs Fail to State a Claim Under Any UCL Prong.8
                   2                  1.   Plaintiffs Fail to State an Unlawful Prong Claim.
                   3         Plaintiffs fail to state an unlawful prong claim because they do not and cannot
                   4   plead violations of the State Consumer Laws underlying this claim. (SAC ¶ 192.)
                   5   The unlawful prong allows a plaintiff to “borrow” other laws and make them
                   6   actionable under the UCL. Cel-Tech Commc'ns, Inc. v. Los Angeles Cellular Tel.
                   7   Co., 20 Cal. 4th 163, 180, (1999). Where a plaintiff fails to allege predicate
                   8   violations, “the UCL unlawful claim must also be dismissed.” Gardiner v. Walmart
                   9   Inc., No. 20-CV-04618-JSW, 2021 WL 2520103, at *8 (N.D. Cal. Mar. 5, 2021);
                 10    Arena Rest. & Lounge LLC v. S. Glazer’s Wine & Spirits, LLC, No. 17-CV-03805-
                 11    LHK, 2018 WL 1805516, at *13 (N.D. Cal. Apr. 16, 2018). Plaintiffs’ failure to state
                 12    FAL, N.Y. G.B.L., N.J. CFA, and FDUTPA claims requires dismissal of the unlawful
                 13    prong claim.
                 14                   2.   Plaintiffs Fail to State an Unfair Prong Claim.
                 15          Plaintiffs’ unfair prong claim concerns the same factual allegations that fail to
                 16    state a claim under the unlawful and fraudulent prongs. See Knuttel v. Omaze, Inc.,
                 17    No. 2:21-CV-09034-SB-PVC, 2022 WL 1843138, at *13 (C.D. Cal. Feb. 22, 2022)
                 18    (“[W]here the practice alleged to be unfair overlaps entirely with the practices
                 19    addressed under the fraudulent and unlawful prongs of the UCL, the former may be
                 20    dismissed when the latter prong do[es] not survive.”); Hadley v. Kellogg Sales Co.,
                 21    243 F. Supp. 3d 1074, 1104–05 (N.D. Cal. 2017) (collecting cases); Saavedra v. Everi
                 22    Payments, Inc., No. CV 21-6999 PA (PDX), 2022 WL 17886025, at *5 (C.D. Cal.
                 23    Apr. 11, 2022). Even if the Court considers the claim further, dismissal is appropriate
                 24    because Plaintiffs do not satisfy the FTC, tethering, or balancing tests. See, e.g.,
                 25    Drum v. San Fernando Valley Bar Assn., 182 Cal. App. 4th 247, 256–57 (2010)
                 26    (affirming demurrer because complaint failed all three tests).
                 27
                 28
                       8
                        Defendants’ arguments supra Section IV.C (the SAC alleges no actionable
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                       misrepresentations or omissions) dispose of Plaintiffs’ UCL fraudulent prong claim.
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 19       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 32 of 40 Page ID #:1050



                   1         To start, Plaintiffs fail to state a claim under the test derived from Section 5 of
                   2   the FTC Act. See Zuniga v. Bank of Am. N.A., No. CV 14-06471 MWF, 2014 WL
                   3   7156403, at *6–7 (C.D. Cal. Dec. 9, 2014) (Fitzgerald, J.) (concluding that the FTC
                   4   test applies to consumer class actions). Plaintiffs fail to plead a substantial consumer
                   5   injury or that they could not reasonably have avoided the purported injury.9 Id. at *7
                   6   (citing Camacho v. Auto. Club of S. California, 142 Cal. App. 4th 1394, 1403 (2006)).
                   7   First, Plaintiffs do not plead substantial injury because they fail to allege any
                   8   cognizable injury. See supra Section IV.B. While Plaintiffs point to an FTC report
                   9   regarding a purported reported “median individual loss” from “scams” in a “crypto
                 10    craze” (SAC ¶¶ 220–21), those allegations say nothing about Plaintiffs’ alleged
                 11    losses here. Moreover, Plaintiffs cannot plausibly allege that the Defendants acted
                 12    unfairly by pointing to the alleged conduct of other individuals or entities outside of
                 13    EMAX. See Drum, 182 Cal. App. 4th at 257 (plaintiff failed to assert claim under
                 14    FTC test because complaint lacked allegations showing “consumers have been
                 15    substantially injured by the [defendant’s] conduct” (emphasis added)); Camacho,
                 16    142 Cal. App. 4th at 1405 (similar).
                 17          Second, Plaintiffs fail to plausibly allege they could not have reasonably
                 18    avoided any purported injury. See Lee v. CarMax Auto Superstores California, LLC,
                 19    No. CV137648MWFVBKX, 2013 WL 12473808, at *5 (C.D. Cal. Dec. 2, 2013)
                 20    (Fitzgerald, J.) (dismissing “unfair” prong claim where plaintiff did not “allege that
                 21    the injury was substantial or that Plaintiff could not have reasonably avoided the
                 22    injury”). Plaintiffs’ conclusory allegation that “consumers could not have reasonably
                 23    avoided” injury is insufficient. (SAC ¶ 222.) As this Court has explained, “the law
                 24    9
                         The FDUTPA claims for unfair conduct (SAC ¶ 306, 309), are also governed by
                 25    this test. See Porsche Cars N. Am., Inc. v. Diamond, 140 So. 3d 1090, 1096–97 (Fla.
                 26    3d DCA 2014) (explaining that the unfair test under the FDUTPA was replaced when
                       the FTC “updated its definition of unfair trade practice[s]” in 1980). The claims fail
                 27    for the same reasons discussed here. See Parziale v. HP, Inc., 445 F. Supp. 3d 435,
                 28    447 (N.D. Cal. 2020) (dismissing FDUTPA claim because consumers could have
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                       “b[ought] a different printer” and thus reasonably avoided injury).
ATTORNEYS AT LAW                                                             DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 20        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 33 of 40 Page ID #:1051



                   1   . . . expects investors to act reasonably before basing their bets on the zeitgeist of the
                   2   moment.” (Order at 1.) Plaintiffs could have reasonably avoided injury by not
                   3   purchasing Tokens that were known to be risky investments. (See SAC ¶¶ 114, 202.)
                   4         Plaintiffs also fail to allege a claim under the tethering test. (See id. ¶ 218.)
                   5   Plaintiffs do not “show that the public policy which is a predicate to [the] UCL
                   6   unfairness claim is ‘tethered’ to a specific constitutional, statutory, or regulatory
                   7   provision.” Harvey v. Bank of Am., N.A., 906 F. Supp. 2d 982, 995–96 (N.D. Cal.
                   8   2012). Plaintiffs’ cursory and group allegations that certain Defendants violated the
                   9   FTC Act, 15 U.S.C. § 45(a)(1), and various California statutes concerning fraud and
                 10    deceit—including the CLRA—are legal conclusions. (See SAC ¶ 218); Clegg v. Cult
                 11    Awareness Network, 18 F.3d 752, 754–55 (9th Cir. 1994). Moreover, Plaintiffs’
                 12    reliance on the FTC Act is implausible because Plaintiffs do not state any claim under
                 13    the FTC test. Nor can Plaintiffs resurrect a CLRA claim through the unfair prong
                 14    because the Court dismissed the CLRA claim without leave to amend. (Order at 33.)
                 15          Last, the balancing test requires allegations showing that a business practice
                 16    “is immoral, unethical, oppressive, unscrupulous or substantially injurious to
                 17    consumers and requires the court to weigh the utility of the defendant’s conduct
                 18    against the gravity of the harm to the alleged victims.” Drum, 182 Cal. App. 4th at
                 19    257. Plaintiffs merely intone this legal standard (see SAC ¶ 219), and point to alleged
                 20    harm to consumers from third-party crypto “scams” (id. ¶ 220). These allegations
                 21    are insufficient. See Saavedra, 2022 WL 17886025, at *5 (dismissing claim under
                 22    balancing test where plaintiff “provide[d] little more than lip service” and “cit[ed]
                 23    the general legal rules” without analyzing “under the present facts”).
                 24          E.     Plaintiffs Again Fail to State an Aiding and Abetting Claim.
                 25          Plaintiffs allege that the Celebrity Defendants and Defendant Maher
                 26    purportedly aided and abetted violations of “the California, Florida, New York, and
                 27    New Jersey state statutes described in the Complaint.” (SAC ¶ 381.) But the Court’s
                 28    prior Order dismissing without leave to amend Plaintiffs’ claims under the laws of
COOLEY LLP
ATTORNEYS AT LAW                                                              DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                  21        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 34 of 40 Page ID #:1052



                   1   the states in which they do not reside (Order at 31–32), requires dismissal of all Non-
                   2   California Plaintiffs’ claims here and dismissal of the California Plaintiffs’ claims
                   3   concerning alleged aiding and abetting violations of non-California laws.
                   4         Despite the Court’s prior dismissal (id. at 39–41), Plaintiffs again fail to show
                   5   that Defendants (1) had actual knowledge of the specific primary wrong, and (2) gave
                   6   substantial assistance to the principal wrongdoer.10 See In re First All. Mortg. Co.,
                   7   471 F.3d 977, 993 (9th Cir. 2006); Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th
                   8   1138, 1152–53 (2005). Plaintiffs again make the conclusory and group allegation
                   9   that the Celebrity Defendants “knew that the marketing strategy employed by the
                 10    Executive Defendants” violated the state laws due to the Celebrity Defendants’
                 11    alleged “previous knowledge and experience with making misleading promotional
                 12    statements.” (Compare CCAC ¶ 149, with SAC ¶ 381.) But the Court rejected
                 13    materially identical allegations as insufficient to show actual knowledge. (Order at
                 14    40–41.) Plaintiffs’ mere deletion of the allegation that Defendants “should have
                 15    known” does not make this claim any less implausible than before given the absence
                 16    of any factual allegations demonstrating actual knowledge. See In re Hydroxycut
                 17    Mktg. & Sales Pracs. Litig., 299 F.R.D. 648, 657 (S.D. Cal. 2014) (dismissing claim
                 18    because “[n]o facts are alleged supporting an inference that the . . . Defendants knew”
                 19    of the alleged violations). Moreover, Plaintiffs fail to plausibly allege substantial
                 20    assistance of the alleged wrongdoing because they do not plead that Defendants’
                 21    alleged conduct caused any harm cognizable under the state laws at issue. See supra
                 22    Section IV.B; Neilson v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1135 (C.D.
                 23    Cal. 2003) (endorsing proximate cause test for substantial assistance prong).
                 24          F.     Plaintiffs’ Repeated Failure to Allege Inadequate Legal Remedies
                                    Requires Dismissal of All Equitable Relief with Prejudice.
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                 26          Plaintiffs again seek equitable relief, yet fail to plead inadequate legal
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                       10
                         To the extent Plaintiffs are again trying to resurrect the CLRA claim here, the Court
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                       should reject that attempt. (Order at 32–34 (dismissing CLRA claim without leave).)
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 22       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 35 of 40 Page ID #:1053



                   1   remedies. (See SAC ¶¶ 185, 211, 244, 270, 281, 285, 319, 342, 365, 376, 384, 490–
                   2   93; id. at 158 (“Prayer for Relief”).) A plaintiff must plead the inadequacy of legal
                   3   remedies to seek equitable relief in federal court. Sonner v. Premier Nutrition Corp.,
                   4   971 F.3d 834, 843–44 (9th Cir. 2020). This Court dismissed Plaintiffs’ prior unjust
                   5   enrichment claim because “Plaintiffs have not even attempted to allege that equitable
                   6   relief is warranted because they lack an adequate remedy at law.” (Order at 42–43
                   7   (citing Sonner, 971 F.3d at 844).) But the Court’s reasoning, like Sonner, applies to
                   8   all equitable relief sought. Plaintiffs violate the Court’s order to comply with Sonner
                   9   by again failing to allege inadequate legal remedies not only for their unjust
                 10    enrichment claim but also for all equitable relief. (See SAC ¶¶ 490–93.) Plaintiffs’
                 11    failure requires dismissal without leave to amend of all requests for equitable relief.
                 12    See Sonner, 971 F.3d at 843–44; Zaback v. Kellogg Sales Co., No. 3:20-cv-00268-
                 13    BEN-MSB, 2020 WL 6381987, *4 (S.D. Cal. Oct. 29, 2020) (dismissing UCL claim
                 14    seeking injunctive relief because plaintiff failed to allege inadequate legal remedy).
                 15          G.     Plaintiffs Fail to Plead Any Entitlement to Restitution.
                 16          Plaintiffs’ requests for restitution (see SAC ¶¶ 211, 244, 270, 285, 319, 349,
                 17    365, 384, 490–493) are insufficient because Plaintiffs do not allege any injury or that
                 18    Defendants made actionable misrepresentations or omissions. See, e.g., Naimi v.
                 19    Starbucks Corp., No. LACV176484VAPGJSX, 2018 WL 11255596, at *11 (C.D.
                 20    Cal. Feb. 28, 2018) (dismissing request for restitution under California and New York
                 21    law because plaintiffs failed to plead a misrepresentation).
                 22          Plaintiffs’ restitution requests fail for other reasons. Under California law, a
                 23    plaintiff can seek restitution only when the “money or property identified as
                 24    belonging in good conscience to the plaintiff [can] clearly be traced to particular
                 25    funds or property in the defendant’s possession.” Colgan v. Leatherman Tool Grp.,
                 26    Inc., 135 Cal. App. 4th 663, 699 (2006), as modified on denial of reh’g (Jan. 31,
                 27    2006). But Plaintiffs fail to allege any money or property that can be clearly traced
                 28    to particular money or property in any Defendant’s possession. Plaintiffs do not even
COOLEY LLP
ATTORNEYS AT LAW                                                            DEFS.’ OMNIBUS MOT. TO DISMISS STATE
 SAN FRANCISCO
                                                                 23       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                              LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 36 of 40 Page ID #:1054



                   1   allege transacting with any Defendant. And while Plaintiffs allege diminutions in the
                   2   Token’s value, they cannot seek restitution on this basis because a loss of value
                   3   “provide[s] no corresponding gain to a defendant.” Wofford v. Apple, Inc., No. 11-
                   4   cv-0034-AJB (NLS), 2011 WL 5445054 at *3 (S.D. Cal. Nov. 9, 2011). Plaintiffs
                   5   also cannot seek restitution under the FDUTPA because the statute requires actual
                   6   damages. Muy v. Int’l Bus. Machines Corp., No. 4:19CV14-MW/CAS, 2020 WL
                   7   13470560, at *4 (N.D. Fla. Apr. 10, 2020). As discussed supra Section IV.B,
                   8   Plaintiffs cannot plead actual damages.
                   9         H.     Plaintiffs Fail to Plead Any Entitlement to Injunctive Relief.
                 10          Plaintiffs similarly fail to plead any entitlement to injunctive relief against the
                 11    Defendants. Under Article III, “to establish standing to pursue injunctive relief . . .
                 12    [plaintiff] must demonstrate a ‘real and immediate threat of repeated injury’ in the
                 13    future.” Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011).
                 14    “Past exposure to illegal conduct does not in itself show a present case or controversy
                 15    regarding injunctive relief . . . if unaccompanied by any continuing, present adverse
                 16    effects.” O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974); see also Tellone Prof.
                 17    Ctr. LLC v. Allstate Ins. Co., No. 819CV02479JLSKES, 2021 WL 1254360, at *7
                 18    (C.D. Cal. Jan. 26, 2021) (dismissing UCL injunctive relief claim because plaintiffs
                 19    “failed to sufficiently plead facts in support of the proposition that the alleged harm
                 20    is ongoing”); In re Monat Hair Care Prod. Mktg., Sales Pracs., & Prod. Liab. Litig.,
                 21    No. 18-MD-02841, 2019 WL 5423457, at *5 (S.D. Fla. Oct. 23, 2019) (same for
                 22    FDUTPA injunctive relief claim); Maniscalco v. Brother Int’l Corp. (USA), No.
                 23    CIV.A. 06CV4907(FLW), 2008 WL 2559365, at *9–10 (D.N.J. June 26, 2008) (same
                 24    for N.J. CFA injunctive relief claim).
                 25          Plaintiffs allege past harm from purchases between May and June 2021 and no
                 26    threat of imminent harm. This is insufficient for injunctive relief. See, e.g., Campion
                 27    v. Old Republic Home Prot. Co., 861 F. Supp. 2d 1139, 1149–50 (S.D. Cal. 2012)
                 28    (no UCL injunctive relief where “claim is based entirely on a past transaction”).
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 SAN FRANCISCO
                                                                 24        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                               LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 37 of 40 Page ID #:1055



                   1   Moreover, Plaintiffs do not allege any intent to purchase Tokens in the future. See
                   2   Vitiosus v. Alani Nutrition, LLC, No. 21-CV-2048-MMA (MDD), 2022 WL
                   3   2441303, at *7 (S.D. Cal. July 5, 2022) (“Plaintiffs fail to specifically allege an intent
                   4   to ever purchase one of Defendant’s FIT Bars again. Such an explicitly stated
                   5   intention or desire to purchase in the future is required to demonstrate a concrete
                   6   injury for standing to seek injunctive relief at the dismissal stage. . . .”); Yee Ting Lau
                   7   v. Pret A Manger (USA) Ltd., No. 17-CV-5775 (LAK), 2018 WL 4682014, at *7
                   8   (S.D.N.Y. Sept. 28, 2018) (no standing for injunctive relief under the GBL because
                   9   they did not allege an intent to purchase the offending product in the future).11
                 10          I.     Dismissal Should Be with Prejudice.
                 11          Despite previously asserting that “[a]ll . . . defects” in the pleadings could “be
                 12    cured with different phrasing and additional factual information currently available
                 13    to Plaintiffs” (ECF No. 75 at 33), Plaintiffs’ voluminous SAC fails to cure previous
                 14    deficiencies and introduces new ones. The amount of irrelevant matter in this latest
                 15    complaint underscores that Plaintiffs are desperately trying to mask insufficient
                 16    claims with shotgun pleading. Further amendment to the State Consumer Law and
                 17    California common law claims—which have already been dismissed once—is futile
                 18    and dismissal with prejudice is warranted. See Carvalho v. Equifax Info. Servs., LLC,
                 19    629 F.3d 876, 893 (9th Cir. 2010) (denying leave to amend); Hartmann v. Cal. Dep’t.
                 20    of Corr. & Rehab., 707 F.3d 1114, 1130 (9th Cir. 2013) (same).
                 21    V.    CONCLUSION
                 22          Defendants respectfully request that the Court dismiss the State Consumer
                 23    Law and California common law causes of action in the SAC with prejudice.
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                       11
                          Because Plaintiffs do not plead any entitlement to restitution or injunctive relief,
                       the Court should also dismiss Plaintiffs’ UCL and FAL claims on that basis. See
                 27    Castillo v. Seagate Tech., LLC, No. 16-CV-01958-RS, 2016 WL 9280242, at *8
                 28    (N.D. Cal. Sept. 14, 2016) (“Because plaintiffs have not adequately pleaded standing
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                       to seek restitution or injunctive relief, their UCL claim is dismissed.”).
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 SAN FRANCISCO
                                                                   25        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                 LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 38 of 40 Page ID #:1056



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                                                    26       CONSUMER LAW AND COMMON LAW CLAIMS
                                                                 LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 39 of 40 Page ID #:1057



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 SAN FRANCISCO
                                                    27      CONSUMER LAW AND COMMON LAW CLAIMS
                                                                LEAD CASE NO. CV 22-163 MWF (SKX)
      Case 2:22-cv-00163-MWF-SK Document 119 Filed 02/21/23 Page 40 of 40 Page ID #:1058



                   1                                          ATTESTATION
                   2               I, Michael G. Rhodes, hereby attest that all other signatories listed above and
                   3   on whose behalf this filing is submitted concur in this filing’s content and have
                   4   authorized me to file on their behalf.
                   5                                                       /s/ Michael G. Rhodes
                   6                                                       Michael G. Rhodes
                   7   280910683



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 SAN FRANCISCO
                                                                     28        CONSUMER LAW AND COMMON LAW CLAIMS
                                                                                   LEAD CASE NO. CV 22-163 MWF (SKX)
